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                                                                                      tlOC -NO
                     IN THE UNITED STATES DISTRICT COURT                            REC:rDiFl LfB
                    FOR THE WESTERN DISTRICT OF WISCONSIN
                                                                              2020NOV 18 PH 4: 36
                                                                                . EJE oppp ·l. -:- ,
UNITED STATES OF AMERICA                                     INDICTMENT CLE-ttf'( US DI ST CU J')1
                                                                                      WQ @F WI      ,
              V.                                  Case No.   2Q CR 14 8                          V/MC
                                                             18 U.S.C. § 1992(a)(6)
TIMOTHY THOMAS,

                            Defendant.


THE GRAND JURY CHARGES:

                                         COUNTl

       On or about November 7, 2020, in the Western District of Wisconsin, the defendant,

                                  TIMOTHY THOMAS,

knowingly and without lawful authority or permission, and with intent to endanger the

safety of any person, and with a reckless disregard for the safety of human life,

interfered with an Amtrak railroad conductor while the conductor was employed in

dispatching, operating, controlling, and maintaining railroad on-track equipment, and

the defendant engaged in such conduct on a railroad carrier engaged in interstate and

foreign commerce.

            (In violation of Title 18, United States Code, Section 1992(a)(6)).




                                         ~
                                         PRESIDING JUROR

                                         Indictment returned: _ _   2-_ /___ _


SCOTT C. BLADER
United States Attorney
